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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

               Plaintiff,
v.

ROGER J. STONE, JR.,

            Defendant.
______________________________


                  ROGER J. STONE'S RESPONSE TO GOVERNMENT'S
                         MOTION TO ADMIT MOVIE CLIP


       Defendant Roger J. Stone, through counsel, files this response to the Government’s

Motion to Admit Movie Clip. Dkt. #156. The government seeks to introduce a movie clip of the

Godfather II.1 The government claims to offer the movie clip because the Indictment alleges that

when HPSCI invited Person 2 to testify, Stone began telling Person 2, through conversations,

emails, and text messages, either to testify falsely that Person 2 was the identified intermediary,

to testify falsely that Person 2 could not remember what he had told Stone, or to invoke his Fifth

Amendment privilege against self-incrimination. Dkt. #156 (citing the Indictment ¶ 37). The

government describes the clip as: "Pentangeli looks behind him, sees Corleone and his brother

sitting together, and then claims not to know anything about organized crime." Dkt. #156 at 3.

This movie clip has no relevance to Stone’s statements; in fact, it is a complete

mischaracterization of Stone’s communications with Person 2 as well as an improper assumption


       1
         The government either assumes the Court is necessarily familiar with the movie clip
from the Godfather II, or recognizes that if it were to see it the nature of its improper character
evidence and unfairly prejudicial clip would be apparent. The transcript of the scene is presented
as Exhibit – 1, the movie clip itself is presented here (click here).
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of the nature of their friendship. Furthermore, any probative value the clip might yield is severely

outweighed by the prejudicial effect it will have on jurors. Not only is this an attempt by the

government to use the backdoor to introduce inadmissible and improper character evidence, it

completely disregards the rationale behind Rule 403’s balancing test. The motion should be

denied.

          The Movie Clip Seeks to Introduce Improper Character Evidence

          The government claims that use of this clip at trial would not be “prejudicial or

confusing” (Dkt. #156 at 6) to the jury. However, this claim errs on the side of willful ignorance.

Any reference to “The Godfather” (regardless of which one) brings up a clear and unalienable

connection to the Italian-American Mafia. Any attempts to compare the conduct of Stone to that

of an alleged mafia member, testifying that he murdered on the orders of ‘the Godfather’ will

instantly create a connection in the minds of the jurors that Stone is somehow similar to a

murderous mafioso. This is an inescapable connection that is undoubtably an improper use of

character evidence and is highly prejudicial to the defendant. Once the door is opened with a

movie clip, which no doubt will accompany an explanation of why it is being played, the trial

detours to a Mafia trial and Stone's connection to it, with all of its history and folklore. This is

precisely what Rule 404 is meant to preclude. Evidence cannot be used "to show criminal

disposition,” propensity, or bad character. United States v. Moore, 709 F.3d 287, 296 (4th Cir.

2013). But that would be precisely the basis for admitting the evidence in this case. Rule 404's

well-recognized principle that showing that a witness has a law-breaking character is “a purpose

prohibited by Fed. R. Evid. 404(b).” United States v. Hands, 184 F.3d 1322, 1328, n.9 (11th Cir.

1999); see also Moore, 709 F.3d at 296 (new trial granted because the district court improperly

admitted evidence of the defendant’s prior possession of a different type of firearm “to establish



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[his] criminal disposition”); see also United States v. Thomas, 321 F.3d 627, 637 (7th Cir. 2003)

(new trial granted where evidence of prior gun possession “appealed to Thomas’s propensity to

carry guns, and nothing more”)). The unfair prejudice of such inflammatory evidence cannot be

overstated. In another context, involving a different type of bad act evidence, the Hands Court

stated that “few would doubt that evidence of violent spousal abuse” falls into a category of

evidence “particularly likely to incite a jury to an irrational decision.” Hands, 184 F.3d at 1328-

29. The spousal abuse in Hands, inflicted by a defendant charged with drug-related offenses, was

held to be unduly prejudicial and therefore inadmissible because of its “inflammatory nature”

and tendency to produce “visceral reactions.” Id. at 1329.

       Person 2, among other descriptions, is an impressionist.2 Stone, in this instance was not

threatening violence on Person 2 as the movie clip implies the Mafia chief is impressing upon the

Mafia witness. At worst, Stone’s message was simply do not cooperate with investigators. When

404(b) evidence is admitted for the improper purpose of “propensity,” any attempted limiting

instruction is irrelevant and does not cure the error. See United States v. Baker, 432 F.3d 1189,

1208 n.14 (11th Cir. 2005).

       Presentation of the Movie Clip Would be Unfairly Prejudicial

       The government downplays the importance of Rule 403 by claiming it is a standard that

is "somewhat exacting,” citing to Joy v. Bell Helicopter Textron, Inc., 999 F.2d 549, 555 (D.C.

Cir. 1993), a civil case regarding the exclusion of technical data reports on other helicopter

accidents. Then claiming exclusion is "an extraordinary remedy to be used sparingly." United

States v. Libby, 467 F. Supp. 2d 1, 20 (D.D.C. 2006). While Rule 403 analysis might be

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  Danny Hakim, Mueller’s Office Will Grill Him About Roger Stone. He will Respond with
Comedy, New York Times, Sept. 4. 2018. (“You can imagine since I’m an impressionist. . .”)
(last visited Aug. 5, 2019 https://www.nytimes.com/2018/09/04/nyregion/mueller-investigation-
randy-credico-roger-stone.html).
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considered "somewhat exacting," the court cannot discount it lightly. The key to Joy is the

technical reports were evidence about the helicopter. See Joy, 999 F.2d at 555. The Godfather

clip is not direct evidence in this case – it is remotely tangential evidence. The government in

Libby did not request the Court to allow a viewing of a clip of the most iconic Mafia trilogy of

the last several generations and ask the jury to draw connections to it. The motion in limine in

Libby referred to documents proffered by the defendant, which led the district court to opine:

"Thus, this Court reserves, as it must, the right to alter the rulings set forth herein, and declare

otherwise relevant evidence inadmissible under either Rule 401 or 403, depending upon how the

facts are actually developed during the trial." Id. Finally, the government makes the point: "It

provides critical context to understand the meaning of messages that are directly at issue in this

case." Dkt. #156 at 5. The movie conveys context, and if the jury takes the meaning from the

movie it hopes to convey, it is "critical context" that suggests both men are in the Mafia. The

prejudicial nature of the evidence the government seeks to admit is not only contained in the

spoken word, but the unspoken. The unspoken visuals, music, audio, camera angles, circus-like

atmosphere of the scene as a whole are just as powerful and incredibly inflammatory.

       The suggestion from the government that Rule 403 is "nonexistent" or "minimal" (Dkt.

#156 at 5) ignores the very reason the government wants to present it to the jury – to inflame the

jury with threatening Mafia references. "While the film itself concerns the mafia, the proffered

clip does not show any violence, and the subject matter of the film and conduct of the main

character who instigated Pentangeli’s testimony are wholly dissimilar from the conduct charged

in this case." It implies that and a whole lot more the government relegates to a footnote. "The

clip contains one reference to violence—one of the questions that prompts Pentangeli that he has

no knowledge of organized crime activity includes a reference to '[y]our sworn affidavit that you



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murdered on the orders of Michael Corleone.'” Dkt #156 at 5, n. 2 (emphasis added). The

context of the clip is regarding murder – a violent felony – which is not remotely similar to any

of the crimes Stone was charged with. It is akin to comparing apples and broccoli, except with

the crucial fact that a mischaracterization could result in a loss of liberty and freedom.

        This case is completely different. The government describes it as "a witness in a

congressional investigation pressured to give false testimony to scuttle a potential perjury

referral," a referral parenthetically that was not made in this case. Dkt. #156 at 5-6. Stone did not

do anything else the context of the scene assumes – kidnapping the witness's brother and

threatening to kill the witness's brother.

        The government cites to the example in United States v. Wills, 346 F.3d 476, 489 (4th

Cir. 2003), as support for showing its mafia movie. First, the defendant did not

contemporaneously object to the showing of the movie. Id. Consequently, the Court in Wills did

not do a Rule 403 analysis. Id. Second, Wills was charged with the kidnapping resulting in death

and interstate stalking resulting in death. Here, there is no violence alleged to have been

perpetrated by Roger Stone.

        The government's reliance on United States v. Jayyosi, is also misplaced. 657 F.3d 1085,

1107-08 (11th Cir. 2011). First, the interview of Osama Bin Laden published was a real

interview, not a movie. Second, the defendants to whom the jury was instructed to consider the

interview as evidence were charged with conspiracy to support terrorist activities led by Bin

Laden. Third, those defendants only objected to the interview of Bin Laden under Rule 401,

relevance. A third defendant argued it was unfairly prejudicial under Rule 403, and the Court

instructed the jury the interview could not be considered evidence against that defendant. Id. at

1108.



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       United States v. Smith, 749 F.3d 465, 496 (6th Cir. 2014) is also inapplicable. The

defendant in that case distributed the film itself to salesmen working for their boiler room

operation, in order to train the salesmen about high pressure sales techniques. Witnesses

"explicitly testified that the movie was provided to employees as a training device." Id. In one

witness's case, he was shown the movie to motivate him to “want to be a salesman.” Id.

       In United States v. Monsalvatge, the defendants were charged with committing a similar

style bank robbery as the characters in the movie presented. 850 F.3d 483, 495 (2d Cir. 2017).

The defendant did not make a record on how he was prejudiced by the presentment of the movie

clips. In conclusory fashion, the defendant stated that the clips were prejudicial. Id. "But he does

not show how any potential for prejudice arising from the introduction of these clips outweighed

their evident probative value. Monsalvatge does not even identify any specific prejudicial

potential that these clips carried beyond the fact that they 'invited the jury to speculate that this

was a copycat crime.'” Id. Yet, he did not suggest how a copycat crime would have been

prejudicial to the jury. Id. at 495-96. Lastly, the movie, The Town is not in the same iconic

league as The Godfather trilogy.

       Here, Stone objects because unlike the other movies and interviews cited by the

government, the Godfather trilogy is iconic and its themes and implications are known by most

people who are potential jurors. A clip of the movie triggers the implication of the entire series –

cold, calculated, violence and crime.3 Once a Mafia connection is made the damage will be done.

A limiting instruction will not undo this error. See United States v. Pritchard, 973 F.2d 905, 908


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          "[T]he Italian Institute of America released a report based on FBI statistics in 2009,
stating that only 0.00782 percent of Italian-Americans possessed any criminal associations. And
yet, according to a national Zogby poll, 74 percent of the American public believed that Italian-
Americans have ties to the mob." Megan Gambino, Smithsonian.com, What is the Godfather
effect? (Jan. 31 2012). Tom Santopietro, The Godfather Effect: Changing Hollywood, America,
and Me, St. Martin Press, (2012).
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(11th Cir. 1992) (limiting instruction as to stale prior conviction cannot cure error). The clip

would be an unnecessary and highly inflammatory distraction that will implicate the right for Mr.

Stone to have a fair trial with no curative instruction to ameliorate the unfair prejudice.

Precluding the movie clip would not be an order the government should "sanitize" its case, just

present a fair one.

         The Godfather movie clip is a direct invitation by the government to the jury to consider

the default violent, well-orchestrated propensities of the Mafia. It is a stunt. It does way more

than what the government should be permitted to prove. There were no threats hidden in that

remark to Person 2 -- a comedic impersonator, known for his ability to impersonate Frank

Pentangeli. But a showing of a clip of the iconic Mafia film of our era does what Rules 403 and

404 are intended to preclude – without evidence of intent to commit violence or mafia affiliation,

there is more to fear from Roger Stone than the government is allowed to present in this limited

trial.

                The prolific portrayals of the La Cosa Nostra Mafia and the Bloods
                gang in the media are likely to 'lure the factfinder into declaring
                guilt on a ground different from proof specific to the offense
                charged.'” Old Chief, 519 U.S. at 180; see United States v.
                Locascio, 357 F.Supp.2d 536, 544 (E.D.N.Y.2004) (“[T]he mere
                association with a Mafia family is, in itself, highly
                prejudicial.”); United States v. Price, No. 05–cr–492, 2009 WL
                973370, at *2 (E.D.N.Y. April 10, 2009) (recognizing that “media
                reports and portrayals have engraved a violent image of the Bloods
                in the popular conscience”). The Second Circuit has cautioned that
                trial courts must be vigilant where there is a “tendency of
                the evidence [in question] to prove some adverse fact not properly
                in issue or unfairly to excite emotions against the
                defendant.” United States v. Figueroa, 618 F.2d 934, 943 (2d
                Cir.1980). Here, neither defendant is charged with offenses
                involving the La Cosa Nostra Mafia or the Bloods gang. The
                government does not assert that TF or the defendants have any
                direct relationship to the La Cosa Nostra Mafia or the Bloods gang
                in connection with the charged offenses. Consequently, the court
                finds that the minimal probative value of Mr. Garrett's alleged

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               inspiration by the Bloods or the mafia is substantially outweighed
               by        the      grave       danger       of unfair prejudice and
               precludes evidence referencing the La Cosa Nostra Mafia and the
               Bloods gang.

       United States v. Rivera, 13-CR-149 KAM, 2015 WL 1875658, at *13 (E.D.N.Y. Apr. 22,

2015). The analysis in all these cases assumes that the defendant has been charged with a crime

of violence, drug distribution, or participating in a racketeering enterprise. Those types of

offenses are not charged here.

       There is no allegation that Roger Stone participated in a criminal conspiracy, used

violence, committed murder or any other violent felony, or is a member of the Mafia. The

introduction of the movie clip is meant to inflame and over-sensationalize Stone’s alleged

behavior. Person 2 can explain what he thought the Pentangeli references meant, and he will be

subject to cross-examination regarding those impressions. Doing more than presenting

testimony, risks an unlawful conviction.

       Even in a case where violence was an element of the charge: "[The Court] reversed the

defendant’s conviction for communicating threats of injury in interstate commerce because the

prosecutor had asked—with no evidentiary support for the question—whether the defendant’s

employer ‘was part of another organization ‘of ill character like [the] Mafia or anything like

that.’ ‘Because the jury found appellant not guilty of four counts of the indictment and guilty of

only two counts, and since the evidence [was] susceptible to an interpretation of innocent

behavior, we [could not] regard the prejudice as harmless.’” United States v. Acosta, 924 F.3d

288, 308 (6th Cir. 2019). The Court should not risk such an unfortunate outcome when the

reasonable non-sensational approach is the appropriate one.

       The government claims the Godfather clip is "directly relevant to the charge of witness

tampering in this case (count 7). Dkt. #156 at 4. Certainly, not because Person 2 thought one of

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his relatives was going to murdered if he cooperated with the government. If, however, that is

what Person 2 thought, then Person 2 can testify to that impression without the additional

prejudicial baggage the movie delivers. A fictional demonstration of Mafia intimidation does so

much more than the government’s purported explanation of context, seeks to introduce. Its

introduction is harmful to a fair trial. But introduction of the movie does more.

       It implies Person 2 is an organized crime figure like Pentangeli. It implies Person 2

understood the threats in the same way as the fictional character in the movie understood it. That

message is your brother will be murdered if you testify. As opposed to the message which was a

joke between friends, or a suggestion to follow Person 2’s lawyer's advice and remain silent. It

implies that Stone kidnapped Person 2’s brother (if he has one) and kept him hostage. It implies

that Person 2 is in a witness protection program like Pentangeli, who has to reside at an Army

barracks because of the threat to Pentangeli’s safety. It makes Roger Stone the Michael Corleone

character in this analogy – an iconic violent godfather of the Mafia. All of this without evidence.

Movie clips are dangerous. It asks the jury to draw analogies, connections, and immeasurable

extraneous conclusions from the movie to the trial without evidence the connections are fair.

                                         CONCLUSION

       For the above stated reasons, this Court should deny the government’s motion in limine

introducing a clip from The Godfather II.


                                                      Respectfully submitted,
                                                      By: /s/_______________

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                                  CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on August 9, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

                                             BUSCHEL GIBBONS, P.A.


                                             ___/s/ Robert Buschel _______________
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